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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 24-24126-CIV-WILLIAMS

  AMERICAN CIVIL LIBERTIES UNION
  OF FLORIDA, INC.,

          Plaintiff,

  v.

  UNITED STATES IMMIGRATION AND
  CUSTOMS ENFORCEMENT, UNITED
  STATES DEPARTMENT OF HOMELAND
  SECURITY,

        Defendants.
  _____________________________/

       JOINT MOTION FOR ENTRY OF BRIEFING SCHEDULE IN LIEU OF STANDARD
                            TRIAL SETTING ORDER


          Plaintiff, American Civil Liberties Union of Florida, Inc., and Defendants, United States

  Department of Homeland Security, through its component, Defendant Immigration and Customs

  Enforcement (ICE), jointly move for the entry of a briefing schedule in lieu of standard trial

  setting order. In support of this Motion, the parties state the following:

          1. Plaintiff filed this action seeking relief under the Freedom of Information Act, 552

              U.S.C. § 552 for ICE’s alleged failure to respond as required by FOIA to three

              requests for information related to two individuals’ detention in ICE custody at the

              Baker County Detention Center in Macclenny, Florida.

          2. Since the filing of Plaintiff’s Complaint (ECF NO. 1), ICE has issued its final

              response to two of the three FOIA requests at issue. The agency is currently

              processing records responsive to the final pending request.
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         3. Lawsuits under the Freedom of Information Act are generally resolved through

             motions for summary judgment, oftentimes obviating the need for trial. See

             Miscavige v. I.R.S., 2 F.3d 366, 369 (11th Cir.1993) (“FOIA cases should be handled

             on motions for summary judgment, once the documents in issue are properly

             identified”). Accordingly, the parties respectfully ask the Court to dispense with entry

             of a traditional trial setting order and, instead, enter an order establishing a schedule

             for briefing of summary judgment motion(s). The parties propose the following

             schedule:

         Motions for Summary Judgment Due:                      [June 3, 2025]

         Responses to Motion for Summary Judgment Due: [July 8, 2025]

         Replies Due:                                           [July 22, 2025]

         4. In the event the case is not fully resolved by summary judgment, then the parties

             would propose providing a further update to the Court on their respective proposals

             for resolving disputed issues (i.e., whether any remaining aspects of the case should

             be resolved through trial or other means).

         5. The parties submit that no discovery shall be taken unless and until authorized by the

             Court, following the adjudication of motion(s) for summary judgment or pursuant to

             an application made under Rule 56(d).

         WHEREFORE, the parties respectfully request the entry of a briefing schedule for

  summary judgment in lieu of the standard trial setting order. Consistent with the foregoing, a

  proposed order granting this motion and setting a schedule as provided above is included below

  and will be emailed to chambers.
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  Dated: February 6, 2025             Respectfully submitted,
  Miami, Florida


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